
THE COURT.
These are appeals in the consolidated action brought to enjoin the issuance of certain municipal bonds of the city of San Diego, and to annul a contract which had been entered into by the city with the Southern California Mountain Water Company, a corporation.
It has been this day decided in Albert Meyer et al. v. City of San Diego et al., ante, p. 102, that the trial judge was disqualified by interest, and that the motion made for a change of venue should have been granted. And the order denying a change of venue was therefore reversed.
It may be regretted that the expense and labor necessarily incurred in the preparation and presentation of these appeals should thus be wasted, but as, under the circumstances, the judgment rendered is of no force or validity, the questions cannot be considered upon their merits, and naught remains but to reverse the judgment.
The judgment and order are reversed and the cause remanded.
Behearing denied.
